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                         EXHIBIT C
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 1                        UNITED STATES BANKRUPTCY COURT
 2                        CENTRAL DISTRICT OF CALIFORNIA
 3                                LOS ANGELES DIVISION
 4
        __________________________
 5      In re:                                    )     Case No.
 6                                                )     2:19-bk-14989-WB
 7      SCOOBEEZ, et al                           )     Jointly
 8      Debtors and Debtors in                    )     Administered:
 9      Possession.                               )     2:19-bk-14991-WB;
10                                                )     2:19-bk-14997-WB
        _____________________________________________
11
12                       30(B)(6) DEPOSITION OF AMAZON
13                                       MICAH McCABE
14                                         10:00 A.M.
15                                   JANUARY 17, 2020
16                                  PERKINS COIE, LLP
17                                  1201 THIRD AVENUE
18                                         SUITE 4900
19                                  SEATTLE, WASHINGTON
20
21      REPORTED BY:
22      JUDY BONICELLI, CSR, RPR, CCR 2322
23      JOB No. 3855212
24
25      PAGES 1 - 204

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 1     don't you restate what the second factor was that you
 2     were looking into?
 3           A.    The DSP 2.0 program, the model that Amazon is
 4     building, Scoobeez and then the proposed purchasers of
 5     Scoobeez do not fit that business model.
 6           Q.    What is the 2.0 program?
 7           A.    The 2.0 program is a -- if you look at it,
 8     it's more of a single owner, just a station
 9     relationship, where the owner is highly engaged in the
10     day-to-day operations of the business, and so that
11     would be the 2.0 model.
12           Q.    Was there a 1.0 model?
13           A.    There is a 1.0 contract.
14           Q.    And what is that?
15           A.    The 1.0 is more of a one owner -- sorry.                  I
16     would say that from the 1.0, which is a term to what
17     contract we were using, the 1.0 contract, what the
18     output of that was, one owner to multiple stations.                       So
19     you could have one company operating in 3, 6, 9, 12
20     stations.
21           Q.    And the 2.0, they would only operate in one
22     station?
23           A.    Yes.
24           Q.    Why was that a better model, in Amazon's view?
25                         MR. DIAMANTATOS:            Objection to the form.

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 1     they've been with Amazon?
 2            A.   I do not.
 3            Q.   I want to turn now to the standards for DSP
 4     performance.       What are first-day delivery routes?
 5            A.   I'm not familiar with that.
 6            Q.   Are you familiar with scorecards?
 7            A.   I'm aware -- I am aware that they exist.
 8            Q.   Have you ever seen any?
 9            A.   Yes, I have seen one before or several.
10            Q.   Is that part of your review process when
11     you're looking at whether to consider a DSP for
12     potential termination?
13            A.   That is a filter that we have looked at to
14     determine for termination, yes.
15            Q.   You have looked at it but is it part of your
16     regular process for considering whether to terminate a
17     DSP?
18                         MR. DIAMANTATOS:            Objection.   Form.
19                  Go ahead.
20                         THE WITNESS:         It -- for the network-wide
21     reviews, we have brought that information in to look at
22     the network and the DSPs on a ongoing week-to-week
23     basis managing escalations.              I don't pull that.
24      BY MS. NIX-HINES:
25            Q.   Did you ever look at Scoobeez' scorecards?

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 1           A.   I have not looked at their individual
 2     scorecards.
 3           Q.   So that was not part of the process, not one
 4     of the factors in considering whether or not to put
 5     them on the terminations?
 6                         MR. DIAMANTATOS:            Objection.    Form.
 7     Mischaracterizes his testimony.
 8                         THE WITNESS:         We did apply a scorecard
 9     filter, a performance filter, in the original analysis
10     that we did to determine if a DSP should be exited from
11     the network.       I did not look at Scoobeez individual
12     weekly scorecards, but we did pull an aggregate.
13      BY MS. NIX-HINES:
14           Q.   And do you know for that aggregate assessment
15     what period of time that covered?
16           A.   I believe it was the first half of 2019 or up
17     to the date that we were doing the analysis.
18           Q.   And that would have been in June or July?
19           A.   Yeah.
20           Q.   And do you recall where Scoobeez fell on the
21     aggregate list?
22           A.   They had a score of fair.                 Their exact
23     placement on the entire list, I don't remember what row
24     they were in.
25           Q.   And approximately how many DSPs were in that

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 1     review?
 2                          MR. DIAMANTATOS:            I'm going to object to
 3     form.        Which review?
 4                          MS. NIX-HINES:          He's talking about the
 5     aggregate assessment of DSPs, again, in mid-2019, the
 6     first half of 2019 up to June or July of 2019.
 7                          THE WITNESS:         I can't remember if we ran
 8     that just against the 1.0s or the 1.0s and the
 9     migrating DSPs.         So the number would range from 40 to
10     about 100.
11      BY MS. NIX-HINES:
12             Q.     And of that 40 to 100, do you recall
13     approximately how many of those DSPs had a score of
14     fair?
15             A.     I do not remember the breakdown specifically.
16             Q.     What were the possible categories of ratings
17     that they could have had?
18             A.     The categories were poor, fair; and I believe
19     after that goes great, fantastic, and fantastic plus.
20     Those last two are -- I don't remember their exact
21     names.
22             Q.     Are those -- is it hard to get a fantastic?
23             A.     I don't know the calculation that goes into
24     determining that.
25             Q.     Do you recall whether any DSPs on the list had

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 1     a ranking of fantastic or fantastic plus?
 2           A.   I do not recall.
 3           Q.   So -- but just to clarify, your assessment was
 4     not just the ones that were marked for consideration of
 5     termination?
 6           A.   We looked at the population of DSPs through a
 7     performance scorecard and looked at those who are
 8     marked as poor and fair.
 9           Q.   Only?
10           A.   As a reason to exit.
11           Q.   But in the group that you were assessing, did
12     they cover the whole gamut of ratings, from poor to
13     fantastic plus?        Or were you only looking at the ones
14     that were on the fit, poor, or fair ranking level?
15           A.   The analysis was starting with the population
16     of DSPs, pulling in their performance scorecards.                     So
17     we would have pulled in all of where they ranked and
18     then from that identifying who was in the poor and the
19     fair bucket.
20           Q.   I see, okay.        And what percentage of the DSPs
21     fell into the poor or fair bucket?
22           A.   I don't know that one.
23           Q.   And would you only consider a DSP for
24     potential termination if they fell in the poor/fair
25     bucket?

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 1           A.    That was my proposal.
 2           Q.    Your proposal.        What had been the policy in
 3     the past?
 4                         MR. DIAMANTATOS:            Objection.
 5     Foundation.
 6                         THE WITNESS:         The -- I would say there
 7     was no clear policy.
 8      BY MS. NIX-HINES:
 9           Q.    What do you mean by that?
10           A.    When I joined the DSP program, the exit
11     process wasn't established or clear.
12           Q.    How did you come to that conclusion?
13           A.    I'm inferring what I believe my leadership has
14     done, but they created the role for me to come in.
15           Q.    Your role is to bring some clarity to the
16     process?
17           A.    Yes.    Bring clarity to the exit process and
18     structure to the analysis.
19           Q.    And in the context of carrying out that
20     mandate, did you do a review of how the process had
21     been done in the past, the exit process?
22           A.    I do not do a deep dive of any of the previous
23     exits that had executed, no.
24           Q.    So how did you come to the conclusion that
25     only the fair and poor DSPs should be marked for

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 1     foundation.       Asked and answered.
 2                         THE WITNESS:         I am not aware of the
 3     calculation that goes into those determinations.
 4      BY MS. NIX-HINES:
 5           Q.   And that would be true for whether they were
 6     rated fair as well, correct?
 7                         MR. DIAMANTATOS:            Same objections.
 8                         THE WITNESS:         That would be true for a
 9     fair up to a fantastic.
10      BY MS. NIX-HINES:
11           Q.   Is Amazon involved with communication with DSP
12     employees communicating the decision to terminate?
13           A.   We need to clarify.             When we talk about DSP
14     employees, are we talking about their drivers?
15           Q.   Well, or the people running the DSP companies.
16           A.   When a decision is made to terminate a DSP,
17     the discussion takes place with the DSP owner to notify
18     them; and as part of our process, we want to partner
19     with them and any news that they're going to deliver to
20     their drivers to the extent that their drivers may be
21     terminated.
22           Q.   Was notifying them that they were marked for
23     termination within the scope of your responsibilities?
24           A.   Notifying the DSP owner?
25           Q.   Yes.

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 1           A.   Yes, it can be.
 2           Q.   And is that something you did personally?
 3           A.   I did deliver the news to Scoobeez, yes.
 4           Q.   And how was that information communicated?
 5           A.   It was a phone call.
 6           Q.   Do you recall when that phone call occurred?
 7           A.   It was -- I believe it's October 1st, a
 8     Monday, and it was at 3:00 p.m., my time, I believe.
 9           Q.   October 1st, 2019?
10           A.   Yes.
11           Q.   And do you recall with whom you spoke?
12           A.   I do not recall the exact names of the people
13     on the phone.
14           Q.   Do you recall what you communicated
15     specifically to Scoobeez?
16           A.   I do recall the conversation.
17           Q.   What did you tell them?
18           A.   I told them that we were -- that Amazon had --
19     was terminating the business relationship.                 I provided
20     the two reasons which I had stated earlier as far as
21     indemnification of Amazon through the litigation, and
22     then the second reason being the business model was not
23     consistent with the DSP program, a 2.0 program.
24                I communicated that -- the separation
25     agreement that we were proposing, the amount of money

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 1     them to go work somewhere; however, we want to, if they
 2     want to continue being a driver, we want to help
 3     facilitate the introductions.
 4             Q.     At the time you had the call with Scoobeez'
 5     owners in October of 2019, was that the first time they
 6     had heard that information, to your knowledge?
 7             A.     Yes, to my knowledge, that would be the first
 8     time.        Let me clarify.       That would be the first time
 9     that they would hear that we wanted to terminate the
10     relationship.
11             Q.     Would they have heard before about the
12     concerns about the litigation and indemnification of
13     Amazon?
14                          MR. DIAMANTATOS:             Objection to form.
15                          THE REPORTER:           I'm sorry.    Would you
16     repeat that?
17                          MS. NIX-HINES:           Sure.    Would they have
18     heard prior to that call regarding Amazon's concerns
19     with respect to litigation and indemnification of
20     Amazon for lawsuits?
21                          MR. DIAMANTATOS:             Objection.   Form.
22     Foundation.        Calls for speculation.
23                     Go ahead.
24                          THE WITNESS:          I'm not part of the legal
25     team so I don't know what would have been communicated

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 1     prior.
 2      BY MS. NIX-HINES:
 3           Q.   To your knowledge, prior to that call on
 4     October 2019, would they have had any information
 5     regarding -- prior to that call would they have any
 6     knowledge as to concerns about the 2.0 business model?
 7                         MR. DIAMANTATOS:            Same objections as
 8     before.    Form.     Foundation.         Calls for speculation.
 9                         THE WITNESS:         I don't know what they
10     would have been aware of at that point.
11      BY MS. NIX-HINES:
12           Q.   Do you recall what Scoobeez' reaction was to
13     the information that you communicated to them?
14           A.   I recall that they asked me to repeat the
15     reasons.    Outside of that, I don't have a recollection
16     of what they said, besides asking me to repeat why.
17           Q.   And during that call, did you -- were you
18     communicating a final decision?
19           A.   Yes.     In that call, yes, and when we make
20     these decisions, it's -- we communicate that it is a --
21     it is our final decision and cannot be appealed.
22           Q.   Prior to the call, had you or anyone in your
23     team communicated that they might be marked for
24     termination?
25                         MR. DIAMANTATOS:            Objection.

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 1     Foundation.
 2                         THE WITNESS:         To the scope of my role,
 3     I'm not aware of anybody communicating that.
 4      BY MS. NIX-HINES:
 5           Q.   In general, prior to you picking up the phone
 6     and making those kind of final decisions that you're
 7     communicating to DSPs, what is the process leading up
 8     to that to inform DSPs that there are concerns about
 9     their performance?
10           A.   I am not in the stations to understand what
11     performance reviews are being taken or on the
12     compliance team to understand what notices that they
13     have sent prior to those.             So I can't really speak to
14     what additional communication or reviews the business
15     had prior.
16           Q.   And you mentioned earlier that you had made a
17     proposal that DSPs that are being scored as a poor or a
18     fair be the ones marked for termination.                 Is that a
19     correct restatement of your testimony?
20           A.   Yes.     That would be a part of an initial
21     proposal I made.
22           Q.   And was that proposal ever acted upon by your
23     supervisors?
24                         MR. DIAMANTATOS:            Objection.   Calls for
25     speculation.       Foundation.

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 1     compliance with the laws are a few that I know.
 2           Q.   And what does ongoing litigation refer to?
 3     You mentioned that that was the other factor that was
 4     recommended to be included?
 5           A.   Yes, thank you for asking.                It wasn't
 6     necessarily ongoing litigation.                 It was litigation --
 7     it could be current or historical.
 8           Q.   Were there any particular kinds of litigation
 9     that were of particular concern?
10           A.   Related to DA pay practices.
11           Q.   What is that?
12           A.   Drivers suing their DSPs for incorrect pay,
13     related items.
14           Q.   Did Scoobeez have any such complaints?
15           A.   In the data that was provided to me, yes.
16           Q.   Do you recall how many?
17           A.   I don't recall the exact number.                I believe it
18     was three or four.
19                         MS. NIX-HINES:          We've been going about
20     an hour.    Why don't we take a short break.
21                         (Recess taken 10:57 a.m. to 11:04 a.m.)
22      BY MS. NIX-HINES:
23           Q.   You mentioned a concern with Scoobeez having
24     three or four lawsuits; is that correct?
25           A.   Yes.     I mentioned that there are three or four

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 1     lawsuits that we had identified as part of the analysis
 2     or were provided to me.
 3           Q.   And that that was one of the two reasons that
 4     you gave to Scoobeez as part of why they were being
 5     marked for termination?
 6                         MR. DIAMANTATOS:            Objection.
 7     Mischaracterizes his testimony.
 8                         THE WITNESS:         The point of the
 9     litigation were identified as a reason for leading back
10     to that -- that reason.
11      BY MS. NIX-HINES:
12           Q.   For termination?
13           A.   Yes, to terminate the relationship.
14           Q.   And was it the mere number of lawsuits that
15     led to that determination?
16           A.   Yes.     The analysis was to look at the number
17     of litigation cases that DSP had.
18           Q.   Was any analysis done as to whether those
19     lawsuits had merit?
20           A.   No.     The analysis was to look at the number of
21     litigation cases the DSP had.
22           Q.   Was any determination made as to the outcome
23     of those lawsuits?
24           A.   No.     The analysis was just to look at the
25     number of litigation cases against the DSP.

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 1           Q.    So even if a DSP had successfully won those
 2     lawsuits, the number of lawsuits would still have been
 3     a concern?
 4                         MR. DIAMANTATOS:            Objection.
 5     Foundation.
 6                         THE WITNESS:         The analysis was just to
 7     look at the number of litigation cases.
 8      BY MS. NIX-HINES:
 9           Q.    You mentioned that a second concern was with a
10     business model of Scoobeez and as a 1.0 rather that
11     than a 2.0; is that correct?
12           A.    Yes, that is correct.
13           Q.    And that was a factor in the termination
14     decision?
15           A.    Yes, that is correct.
16           Q.    Was any analysis done as to whether Scoobeez
17     could transition to becoming a 2.0?
18           A.    No, there was nothing to my knowledge.
19           Q.    Was any analysis done as to whether any DSPs
20     could transition from a 1.0 to a 2.0?
21           A.    Not to my knowledge.
22           Q.    So DSPs that fell within the 1.0 category were
23     all terminated?        Is that your testimony?
24                         MR. DIAMANTATOS:            Objection.   Form.
25     Mischaracterizes testimony.

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 1                         MR. DIAMANTATOS:            Objection.   Foundation
 2     and form.
 3                         THE WITNESS:         I cannot speak to my
 4     leadership's thought processes.                 My take is that a
 5     private equity owner of a DSP does not fit the DSP 2.0
 6     model.
 7      BY MS. NIX-HINES:
 8           Q.    And why is that?
 9           A.    The DSP 2.0 model is an owner to a single
10     station and having that owner be specifically invested
11     in working in the stations with their employees.                      A
12     private equity firm would not be in the station, to my
13     knowledge, and have hands on the operations with the
14     employees.
15           Q.    And you did not think that a private equity
16     firm could hire somebody that would be hands-on at the
17     station?
18                         MR. DIAMANTATOS:            Objection.   Form.
19     Foundation.      Calls for speculation.              Mischaracterizes
20     witness's testimony.
21                         THE WITNESS:         The business -- the DSP
22     2.0 program is the owner, the owner to be connected to
23     the details.
24      BY MS. NIX-HINES:
25           Q.    Self-private equity companies sat on the board

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 1             Q.     Do the scorecards factor in in any way in the
 2     decision to terminate a DSP?
 3             A.     When I performed an analysis and issue the
 4     paper or presentation I recommended, that took place in
 5     July.        And the work that took place in the prior weeks,
 6     we incorporate a scorecard data into that as a
 7     threshold for a recommendation to terminate.
 8             Q.     And did you work with Ashley Hill on that?
 9             A.     I worked with a member of her team to get the
10     information.
11             Q.     Has the scorecard information been
12     incorporated into the process after you delivered that
13     presentation?
14                          MR. DIAMANTATOS:            Objection.
15     Foundation.
16                          THE WITNESS:         The output of that review
17     of incorporating the scorecard, the feedback that we
18     received was to look at the DSP population through two
19     different lenses, one which was the account of DA
20     litigation and the other one was the compliance.
21      BY MS. NIX-HINES:
22             Q.     So scorecards were not, then -- the decision
23     was not made to include scorecards as part of those
24     factors?
25             A.     The decision was to look at it from a

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 1     different approach, even though we already had
 2     scorecard information.           We did not -- but we did not
 3     use a filter of scorecards after that.
 4             Q.   But you had recommended that it be a filter?
 5             A.   I had, yes, I had proposed that.
 6             Q.   Were there any other filters that you had
 7     proposed?
 8             A.   I had also proposed a percent of network
 9     impact or percent of network share as something that we
10     needed to look at.
11             Q.   What does that mean?
12             A.   A DSP who may operate in 20 stations, have
13     owned -- and their routes account, for example -- it's
14     an egregious number, but 20 percent of all routes,
15     whether that is a risk to our network, given that
16     relationship and the dependency on them.
17             Q.   If you had a DSP that had that kind of market
18     share, how would that impact your decision?                 Would you
19     be more inclined to terminate them or not terminate
20     them?
21                         MR. DIAMANTATOS:            Objection to form.
22                         THE WITNESS:         It's been a while since I
23     reviewed my paper.         I believe my recommendation was to
24     shrink the footprint.
25

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 1     Foundation.
 2                  Go ahead.
 3                         THE WITNESS:         Can you clarify what you
 4     mean by --
 5      BY MS. NIX-HINES:
 6           Q.   Yes.     So you notify a DSP that you're going to
 7     terminate, but there is this delay before they're
 8     actually out the door.           Do you notice any consequences
 9     to Amazon as a result of the fact that they're still
10     working with Amazon, even knowing that they're going to
11     be terminated?
12                         MR. DIAMANTATOS:            Same objection.
13                         THE WITNESS:         I would say there are two
14     things I would point out.             One is between the period of
15     us notifying the owner and us notifying the drivers,
16     there is a risk of drivers finding out in some other
17     manner besides a partnership between Amazon and the DSP
18     notifying the drivers.           So there is a risk associated
19     with that area.        So it's not necessarily a harm, but
20     it's a risk I'm very aware of.
21                  In regards to harm, the dragging out of a
22     relationship between Amazon and the DSP of which Amazon
23     does not want to be in partnership with any more, it
24     does impact the planning and timing.                 It's -- I don't
25     know how to quantify or describe that harm, but there

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 1     is a harm for continued into a forced relationship that
 2     at that time has already become a tense relationship
 3     because there is a known termination date coming up.
 4      BY MS. NIX-HINES:
 5           Q.    Have you seen any tangible consequences as a
 6     result of that tension?
 7                         MR. DIAMANTATOS:            Objection to form.
 8                  Go ahead.
 9                         THE WITNESS:         I would say tangible from
10     a planning standpoint.           This is more of an operational
11     thing.     A common question I get from my peers is when
12     is the last date so they can plan accordingly from a
13     recruitment standpoint or from a capacity standpoint.
14                  From a relationship in the stations, I guess
15     it would be hearsay.          I have not seen it directly, but
16     compliance with some of our day-to-day operational
17     requirements begins to slip.               So those would be
18     examples I can think of.
19      BY MS. NIX-HINES:
20           Q.    Have you ever seen the reverse, where
21     improvement improves even though they've been
22     designated for termination?
23           A.    I would say that I haven't looked for it, and
24     so I can't say whether it has improved.                 I know there
25     are exits that take place where people -- we do leave

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 1     was -- with the exit that Scoobeez will probably
 2     terminate some of their drivers.                 Under federal law and
 3     some state laws they may have to file necessary
 4     paperwork.
 5           Q.    And the consequences that you mentioned of the
 6     uncertainty and all that, if Amazon had agreed not to
 7     terminate Scoobeez, those concerns would go away; is
 8     that correct?
 9           A.    No, I disagree.         We would still be in partner
10     with a DSP that has a history of litigation.
11     Litigation, when Amazon is brought into it, costs
12     money.     It costs time for attention for employees to
13     address it, and then there is also a PR risk associated
14     with the litigation related to DSPs.
15           Q.    What PR risk is that?
16           A.    I would point to a Buzz Feed article that came
17     out several months ago associated with DSPs that have
18     poor DA practice -- pay practices, and there was
19     accidents that were resulting from their -- those
20     drivers.     Those are DSPs that we may or may not choose
21     to be in relationship with because of how they're --
22     because of their litigation history.
23           Q.    Is Scoobeez mentioned in that Buzz Feed
24     article?
25           A.    I don't recall specifically who was mentioned.

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 1                        REPORTER'S CERTIFICATE
 2
 3              I, JUDY BONICELLI, the undersigned Certified
 4     Court Reporter, pursuant to RCW 5.28.010 authorized to
 5     administer oaths and affirmations in and for the State
 6     of Washington, do hereby certify:
 7              That the sworn testimony and/or proceedings, a
 8     transcript of which is attached, was given before me at
 9     the time and place stated therein; that any and/or all
10     witness(es) were duly sworn to testify to the truth;
11     that the sworn testimony and/or proceedings were by me
12     stenographically recorded and transcribed under my
13     supervision, to the best of my ability; that the
14     foregoing transcript contains a full, true, and
15     accurate record of all the sworn testimony and/or
16     proceedings given and occurring at the time and place
17     stated in the transcript; that I am in no way related
18     to any party to the matter, nor to any counsel, nor do
19     I have any financial interest in the event of the
20     cause.
21              WITNESS MY HAND and DIGITAL SIGNATURE this
22     29th day of January, 2020.
23
                <%19854,Signature%>
24              JUDY BONICELLI, RPR, CCR
25              Washington Certified Court Reporter, CCR 2322

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